Case 4:22-cv-06823-JST Document 173-5 Filed 11/15/23 Page 1 of 9




   EXHIBIT 4
      Case 4:22-cv-06823-JST Document 173-5 Filed 11/15/23 Page 2 of 9

                                           425 MARKET STREET           MORRISON & FOERSTER LLP

                                           SAN FRANCISCO               AUSTIN, BEIJING, BERLIN, BOSTON,
                                                                       BRUSSELS, DENVER, HONG KONG,
                                           CALIFORNIA 94105-2482       LONDON, LOS ANGELES, MIAMI,
                                                                       NEW YORK, PALO ALTO, SAN DIEGO,
                                           TELEPHONE: 415.268.7000     SAN FRANCISCO, SHANGHAI, SINGAPORE,
                                           FACSIMILE: 415.268.7522     TOKYO, WASHINGTON, D.C.


                                           WWW.MOFO.COM




                                                                       Writer’s Direct Contact
                                                                       +1 (213) 892-5200
                                                                       ABennett@mofo.com



November 6, 2023




Via Email

Joseph Saveri
JOSEPH SAVERI LAW FIRM, LLP
601 California Street, Suite 1000
San Francisco, California 94108
jsaveri@saverilawfirm.com

Re:    Doe 1 v. GitHub, Inc., No. 4:22-cv-06823-JST (N.D. Cal.) & Doe 3 v. GitHub, Inc.,
       No. 4:22-cv-07074-JST (N.D. Cal.) OpenAI’s Responses to Plaintiffs’ First Set of
       Interrogatories and Requests for Production

Dear Joseph:

We write in response to your September 20, 2023 letter to clarify OpenAI’s positions on its
responses to Plaintiffs’ First Set of Interrogatories and Requests for Production, following
the parties’ September 5 and September 7, 2023 meet and confers. At this juncture, OpenAI
cannot assess whether the parties are at an impasse because, as detailed further below,
OpenAI is awaiting additional information from Plaintiffs.

OpenAI reserves the right to supplement its positions as to the requests addressed herein, as
well as Plaintiffs’ other discovery requests not addressed in this letter.

Interrogatories

Verifications. OpenAI will provide verifications to its responses to Plaintiffs’ First Set of
Interrogatories as soon as reasonably practicable (and before depositions of OpenAI
defendant witnesses).

Interrogatories Nos. 1 and 14. OpenAI will supplement its responses to identify Bates
numbers of responsive documents, to the extent they exist and pursuant to OpenAI’s
      Case 4:22-cv-06823-JST Document 173-5 Filed 11/15/23 Page 3 of 9




Joseph Saveri
November 6, 2023
Page Two


objections and responses, as soon as reasonably practicable. To the extent information is
made available through other means pursuant to the ESI order entered in this case (e.g., made
available for inspection on a secure source code computer pursuant to the Amended
Protective Order or through querying or sampling methodologies), OpenAI’s supplemental
responses will so state.

Interrogatory No. 2. OpenAI objected to this interrogatory on multiple bases, including that
Plaintiffs have failed to explain the relevance of the names of “all past and present directors
and officers” (emphasis added). Indeed, even if certain officers or directors have limited
knowledge of codes, that would not necessarily make their names relevant. Please provide
an explanation for why this interrogatory seeks discovery that is both relevant and
proportional to the needs of the case so that we can properly assess Plaintiffs’ position and
whether the parties are at an impasse.

Interrogatory No. 3. As stated in our response and during the parties’ meet and confer, “all
individuals or entities who possess or have possessed stock or ownership interest in
[OpenAI] greater than five percent” is irrelevant to any issue in this litigation. Plaintiffs still
have not provided an explanation for why an identification of all such individuals is
warranted. During the meet and confer, Plaintiffs indicated that this interrogatory seeks to
identify the individuals and entities that control Defendants, but as OpenAI expressed during
the meet and confer, that is not what this interrogatory seeks as worded. OpenAI stated that
it would consider responding to a revised interrogatory specifically seeking this information.
Plaintiffs have not provided a revised interrogatory.

Interrogatory No. 4. OpenAI disagrees with Plaintiffs’ characterization that OpenAI agreed
to “answer for the agreements identified in response to Interrogatory 1.” OpenAI did not—
and does not— agree to produce information with respect to the individuals who negotiated
those agreements. Negotiations for agreements with Microsoft are not relevant to any of the
claims asserted here. Plaintiffs still have not explained how agreements or negotiations with
Microsoft unrelated to Copilot and/or Codex bear any relevance to the claims at issue. As
OpenAI indicated during the parties’ meet and confer, OpenAI is considering and further
assessing whether OpenAI would be willing to identify the individual(s) responsible for
negotiating aspects of its agreements with Microsoft specific to Copilot and/or Codex. To
the extent OpenAI determines that identifying such individual(s) would be appropriate,
OpenAI will supplement its response accordingly.

Interrogatory No. 5. Plaintiffs are not entitled to the identities of all persons who have had
any knowledge about the “engineering and development of Copilot and its previous
iterations, versions, or forms” because these witnesses would have knowledge duplicative
and/or cumulative of the witnesses already identified in OpenAI’s response to this
interrogatory. Plaintiffs also have not explained why additional witnesses would be relevant
and proportional to the needs of the case here, and OpenAI will not identify every single
      Case 4:22-cv-06823-JST Document 173-5 Filed 11/15/23 Page 4 of 9




Joseph Saveri
November 6, 2023
Page Three


OpenAI employee who has any iota of knowledge related to Codex, no matter how trivial,
inconsequential, or cumulative of the identified individuals’ knowledge.

Interrogatories Nos. 6 and 7. OpenAI disagrees that its objections are not appropriate. It is
unclear what you mean in your letter by limiting these interrogatories to “identifying
OpenAI-affiliated individuals.” OpenAI already explained that these interrogatories seek
information that does not exist because OpenAI has never purchased or sold any interest in
GitHub. OpenAI is willing revise its responses to confirm this statement if such revisions
would resolve any dispute pertaining to these interrogatories.

Interrogatory No. 8. Plaintiffs have not explained how information related to GPT-3 and
GPT-4 falls within the scope of the allegations in this litigation. Please explain the relevance
of GPT-3 and GPT-4, and identify specific paragraphs in the Amended Complaint disclosing
the theory under which you claim GPT-3 and GPT-4 are relevant.

Interrogatory No. 9. OpenAI states again that it does not have “oversight or control over
engineering, developing, marketing, or sale of Copilot.” Your attempt to seek information
from OpenAI that is outside of its possession, custody, and/or control is inappropriate. To
the extent Plaintiffs seek information regarding aspects of Copilot that use the same
underlying technology as Codex, OpenAI has agreed to produce relevant information about
Codex in response to other interrogatories and requests for production. To the extent
Plaintiffs seek information regarding the names of Microsoft and/or GitHub individuals with
this knowledge, this interrogatory is better directed to Microsoft and/or GitHub.

Interrogatory No. 10. Nowhere in Plaintiffs’ interrogatories do Plaintiffs define “Ethics
Team,” and when asked during the meet and confer where this term was defined in the
Amended Complaint or elsewhere, Plaintiffs could not do so. We are therefore “puzzled” by
your claim that you are “puzzled” by OpenAI’s confusion. With the clarification in
Plaintiff’s September 20, 2023 letter that this interrogatory seeks information regarding
“[individuals] involved with OpenAI’s ‘Safety & Alignment’ projects,” OpenAI is willing to
investigate and provide an updated response, if appropriate, as soon as reasonably
practicable.

Interrogatory No. 11. As stated in OpenAI’s response and during the meet and confer, this
interrogatory specifically asks for information regarding Copilot, which is not an OpenAI
product. To the extent Plaintiffs seek information regarding aspects of Copilot that use the
same underlying technology as Codex, OpenAI has agreed to produce relevant information
about Codex in response to other interrogatories and requests for production. OpenAI has
been investigating, and will continue to investigate, third-party products used to maintain
documents related to Codex and source code for Codex models, and is willing to supplement
its response to this interrogatory as soon as reasonably practicable.
      Case 4:22-cv-06823-JST Document 173-5 Filed 11/15/23 Page 5 of 9




Joseph Saveri
November 6, 2023
Page Four


Interrogatory No. 12. OpenAI disputes that Plaintiffs are entitled to “home addresses,
email addresses, social media handles, and telephone numbers” of its former and current
employees, especially where these individuals are represented by counsel and OpenAI has
stated they can be contacted through its outside counsel of record. Moreover, Plaintiffs have
yet to explain why the personally identifying information of these individuals is relevant to
this case.

Interrogatory No. 13. OpenAI is currently investigating sources of data used to train Codex
and will supplement its response as soon as reasonably practicable.

Requests for Production of Documents

Global Issues. Plaintiffs raise two global issues in their letter: (1) training as it relates to
Copilot, and (2) certain products that fall beyond the scope of this litigation. Regarding the
first issue, OpenAI states that it does not exercise any oversight or control over Copilot and
that Copilot is not a product offered by OpenAI. To the extent Plaintiffs seek Copilot-
specific documents, Plaintiffs should direct these requests to Microsoft and/or GitHub. But
to the extent Plaintiffs seek information regarding aspects of Copilot that use the same
underlying technology as Codex, OpenAI has agreed to produce relevant information about
Codex in response to other requests. Regarding the second issue, OpenAI states that requests
seeking documents related to Azure, GPT-3, and GPT-4 do not fall within the scope of the
allegations in this case, and thus, are not relevant to this litigation. As requested above with
respect to the interrogatories, please explain the relevance of Azure, GPT-3, and GPT-4 and
specific paragraphs in the Amended Complaint disclosing that theory of relevance.

Request For Production No. 1. As indicated above and made clear during the parties’ meet
and confer, Copilot is a product offered by Microsoft and/or GitHub, not OpenAI. To the
extent Plaintiffs seek documents sufficient to identify Microsoft and/or GitHub employees
responsible for Copilot, such requests are more appropriately directed to Microsoft and/or
GitHub.

Requests For Production Nos. 2, 5-7. OpenAI disputes that documents related to Azure,
GPT-3, and GPT-4 fall within the scope of the allegations in this litigation, as noted above.
OpenAI has repeatedly requested that Plaintiffs provide an explanation as to their supposed
relevance, and has yet to receive one. OpenAI has therefore agreed to produce only
organizational charts that identify individuals primarily responsible for the design and
operation of Codex. Regarding Plaintiffs’ request for “data or other native information from
which the charts were generated or produced” for “prior periods,” it is unclear what Plaintiffs
are referring to. OpenAI is unaware of any data that has been destroyed with respect to
organizational charts. Plaintiffs asked during the meet and confer what system OpenAI uses
for organizational charts. OpenAI uses ChartHop.
      Case 4:22-cv-06823-JST Document 173-5 Filed 11/15/23 Page 6 of 9




Joseph Saveri
November 6, 2023
Page Five


Requests For Production Nos. 3, 21-24. Similar to its response above regarding
Interrogatory No. 1, OpenAI disputes that agreements with Microsoft and other entities
regarding products other than Codex and Copilot are relevant to this litigation. Moreover,
Plaintiffs’ request for “[a]greements with any entity regarding any products” is overly broad,
burdensome, and seeks non-relevant information. Plaintiffs fail to explain why such
agreements, earlier iterations of agreements, and communications would be relevant to their
allegations, which involve Codex and Copilot. During the meet and confer, you raised Sam
Altman’s investment into Helion as an example of an agreement you are seeking. Mr.
Altman’s personal investments are not relevant to this litigation and do not involve OpenAI.
There is absolutely no basis for OpenAI to produce such an agreement.

Requests For Production Nos. 4, 25. OpenAI has produced publicly available documents
regarding the corporate formation of each of the OpenAI defendants. Additional documents
regarding the formation of each of the OpenAI defendants are not relevant because Plaintiffs’
allegations do not implicate the formation of OpenAI. Please explain why such documents
are relevant to any of Plaintiffs’ allegations, with reference to specific paragraphs of the
Amended Complaint.

Further, OpenAI also states that OpenAI Startup Fund GP I, L.L.C., OpenAI Startup Fund I,
L.P., and OpenAI Startup Fund Management, LLC were not involved in the training and
development of Codex and/or Copilot. As discussed during the meet and confer, OpenAI
requests that Plaintiffs identify the documents that they need from OpenAI to allow these
entities to be dismissed from this litigation.

Request For Production No. 8. OpenAI agrees that it will make available for inspection
relevant Codex models, through an agreed-upon process, and additional documents sufficient
to show the operation of Codex.

Requests For Production Nos. 9, 15-16, 37-39, 44, 46-49. Plaintiffs mischaracterize the
meet and confer between OpenAI and Plaintiffs. The parties did not discuss “sampling” and
it is unclear what Plaintiffs mean by that—e.g., what specifically is it that Plaintiffs want
OpenAI to “sample” and how? OpenAI suggested that the parties could work on a protocol
involving querying, in which Plaintiffs provide a certain number of specific strings of code
and/or file names and OpenAI could further investigate how to run queries and provide
information. With respect to these requests, OpenAI also pointed out that Plaintiffs have not
given Defendants the code that Plaintiffs accuse OpenAI of supposedly ingesting and
emitting. As explained during the meet and confer, simply providing repository names is
insufficient. Plaintiffs must provide OpenAI with the specific code they are requesting
OpenAI to investigate. Once Plaintiffs have done so, OpenAI is willing to revisit these
requests. Regarding Plaintiffs’ request for documents that describe the contents of the
training datasets, OpenAI’s supplemental response to Interrogatory No. 13 will provide the
requested information.
      Case 4:22-cv-06823-JST Document 173-5 Filed 11/15/23 Page 7 of 9




Joseph Saveri
November 6, 2023
Page Six


Request for Production No. 10. During the meet and confers, OpenAI indicated that it is
willing to investigate Plaintiffs’ use of Codex, but stated that it needed to know which
Plaintiffs used the Codex API. As reflected in your letter, Plaintiffs agreed to identify the
username and account information for any Plaintiffs, if this information exists. We await this
information from Plaintiffs.

Requests for Production Nos. 11-14. As stated in our response and during the meet and
confer, OpenAI is willing to make relevant Codex models available for inspection pursuant
to the Amended Protective Order, which will reflect changes to Codex models related to
“emission or filtering of output.” Communications regarding changes to particular technical
functions would be duplicative and cumulative of the changes noted in the source code, and
Plaintiffs have not shown why such discovery would be proportional to the needs of this
case. Nonetheless, OpenAI is willing to investigate whether such documents exist and
further assess whether they are relevant and appropriate for production. To the extent
Plaintiffs seek the same information as it relates to Copilot, OpenAI states that it is not aware
of changes made to Copilot related to its emission or filtering of output, as Copilot is not a
product offered by OpenAI.

Requests for Production Nos. 17-18. OpenAI is investigating whether it is possible to
provide “prompt-output pairs” for Plaintiffs’ code and will update Plaintiffs once that
investigation is complete. The parties are to further meet and confer regarding reasonable
methodologies to query such data sources to the extent they exist. As requested for Requests
for Production Nos. 9, 15-16, 37-39, 44, 46-49, OpenAI asks that Plaintiffs provide
Plaintiffs’ code they want OpenAI to investigate.

Requests for Production Nos. 19-20. Plaintiffs’ request is unreasonable. OpenAI does not
exercise control over GitHub, and accordingly, cannot “take steps to ensure GitHub
produces” documents responsive to these requests.

Requests for Production Nos. 26-27. OpenAI has produced publicly available documents
regarding the corporate formation of each of the OpenAI defendants, which sufficiently
identify the owners of each OpenAI defendant. It is unclear what additional documents in
connection with these requests would be relevant to Plaintiffs’ allegations in this case.

Requests for Production Nos. 28-32. As explained during the meet and confers, OpenAI is
open to narrowing these requests, but as written these requests are not a reasonable starting
point. Plaintiffs have not explained how any documents provided to any US legislator, US
regulatory body, the DOJ, the FTC, the SEC, or any non-US regulatory body are relevant to
the claims and defenses in this litigation, or proportional to the needs of this case. OpenAI is
surprised by Plaintiffs’ sudden declaration that the parties are at an impasse when during the
meet and confers, Plaintiffs represented that they would come back to OpenAI regarding
potential narrowing. To the extent Plaintiffs are no longer interested in discussing a
      Case 4:22-cv-06823-JST Document 173-5 Filed 11/15/23 Page 8 of 9




Joseph Saveri
November 6, 2023
Page Seven


reasonable scope for these requests, please provide an explanation as to how each of these
requests and their subparts are relevant to the allegations in this litigation.

Requests for Production Nos. 33. The First Amendment protects OpenAI’s right to petition
the government in connection with generative AI and its business operations. Plaintiffs have
not explained how OpenAI’s lobbying efforts are relevant to their claims or to determining
OpenAI’s liability or damages. Please provide an explanation.

Request for Production No. 34. OpenAI will produce documents sufficient to show any
revenue and costs for Codex between 2021 to present as soon as reasonably practicable.

Request for Production No. 35. Although the requested information should be in Plaintiffs’
possession, OpenAI will investigate agreements between the named Plaintiffs and OpenAI in
response to this request, and to the extent they exist, will produce them as soon as reasonably
practicable.

Requests for Production Nos. 40-43, 45. As indicated above, documents related to Azure
do not fall within the scope of the allegations in this litigation. If you believe otherwise,
please explain why. Again, OpenAI is surprised by Plaintiffs’ sudden declaration that the
parties are at an impasse when during the September 7, 2023 meet and confer, Plaintiffs
stated that they would be willing to narrow these requests and represented that it was “fine”
if there are no unique documents being produced in response to these requests beyond the
agreements between OpenAI and Microsoft pertaining to Codex and/or Copilot.

Request for Production No. 50. As explained during the parties’ meet and confers, this
request is overbroad because, as currently phrased, the request appears to seek documents
regarding lawsuits that do not involve any of the products at issue and are not relevant to the
claims asserted here. The example discussed during the parties’ meet and confers was an
OpenAI employee involved in a car accident with a claim of indemnity. Clearly, such a
lawsuit would not be relevant. Plaintiffs indicated that they would be willing to narrow this
request and now seek “production of complaints filed in federal or state court or complaints
submitted to any federal or state law enforcement or regulatory agency.” This purported
narrowing would still encompass the example of an OpenAI employee involved in a car
accident. Again, Plaintiffs offer no explanation for how lawsuits that do not involve any of
the products at issue are relevant to the claims asserted here. Moreover, the vast majority of
what Plaintiffs seek is publicly available and equally accessible to Plaintiffs.

Requests for Production 51-52. OpenAI disputes that these requests “call for discoverable
information” and that it refused to produce documents “on the basis that most responsive
documents are public.” To the extent Plaintiffs seek documents regarding specific ads and
promotional material that are publicly available, OpenAI is open to investigating these
specific ads and promotional material identified by Plaintiffs that are relevant to their claims.
      Case 4:22-cv-06823-JST Document 173-5 Filed 11/15/23 Page 9 of 9




Joseph Saveri
November 6, 2023
Page Eight


To date, Plaintiffs have not identified any OpenAI ads or promotional materials pertaining to
Copilot.

Request for Production No. 53. As explained during the meet and confers, this request for
complete personnel files of OpenAI employees who worked on Codex is highly invasive and
seeks information not relevant to this case. Plaintiffs indicated that they were not interested
in the entire history and personnel files of OpenAI employees. During the meet and confers,
Plaintiffs proposed narrowing the request to documents regarding employees who raised
concerns about the use of particular data as training material for Codex. OpenAI looks
forward to Plaintiffs’ proposed narrowing, and are willing to further meet and confer
regarding the proper scope for this request.

Request for Production No. 54. OpenAI states that it has already produced public
documents sufficient to show its document retention policies and that Plaintiffs have not
raised any specific issues regarding the sufficiency of OpenAI’s document retention.
Accordingly, OpenAI does not believe any further production is warranted.

Requests for Production 55-56. As stated in its initial disclosures, OpenAI will produce the
insurance agreements referenced in its initial disclosures as soon as reasonably practicable.

Request for Production 57. As OpenAI stated during the parties’ September 7, 2023 meet
and confer, OpenAI does not know how to search for “ALL DOCUMENTS or
COMMUNICATIONS related to or mentioning Plaintiffs” without revealing Plaintiffs’
names broadly within OpenAI, which Plaintiffs’ counsel has prohibited OpenAI from doing.
The parties discussed using search terms and custodians to identify responsive documents
and will further meet and confer regarding how to do so as discovery progresses.




Sincerely,



Allyson R. Bennett
